      Case 1:20-bk-11006-VK      Doc 76 Filed 07/01/20 Entered 07/01/20 14:56:46           Desc
                                  Main Document    Page 1 of 4


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     THE SANDS LAW GROUP, APLC
 2
     205 S Broadway, Ste 903
 3   Los Angeles, California 90012
     Telephone:    (213) 788-4412
 4   Facsimile:    (888) 623-8382
     Attorney for The Sands Law Group, APLC
 5
 6                            UNITED STATES BANKRUPTCY COURT
 7                             CENTRAL DISTRICT OF CALIFORNIA
 8
                                SAN FERNANDO VALLEY DIVISION
 9
     In re                                    )   Case No.: 1:20-bk-11006-VK
10                                            )
                                              )
11           LEV INVESTMENTS, LLC,            )   Chapter 11, subchapter V
                                              )
12                              Debtor.       )   NOTICE OF WITHDRAWAL OF STATUS
                                              )   CONFERENCE? MORE AKIN
13                                            )   TO THE TWILIGHT ZONE [DOC 67] WITHOUT
                                              )
14                                            )   PREJUDICE
                                              )
15                                            )   Date:         TBD
                                              )   Time:         1:30 p.m.
16                                            )
                                              )   Location:     Courtroom 301
17                                            )                 21041 Burbank Blvd.
                                                                Woodland Hills, CA 91367
18
             TO THE HONORABLE COURT VICTORIA S. KAUFMAN, UNITED STATES
19
     BANKRUPTCY COURT JUDGE, DEBTOR, ITS COUNSEL OF RECORD, AND ALL
20
     INTERESTED PARTIES:
21
             Creditor The Sands Law Group, APLC, hereinafter Creditor or Sands, hereby
22
     WITHDRAWS STATUS CONFERENCE? MORE AKIN TO THE TWILIGHT ZONE [Doc
23
     67] without prejudice.
24
                                              Respectfully submitted,
25
     DATED: July 1, 2020                      THE SANDS LAW GROUP
26
                                              By: _________________________________________
27                                                  Thomas Sands, Esq.
28                                                  Attorney for Creditor The Sands Law Group,
                                                    APLC


                                                    1
                       NOTICE OF WITHDRAWAL OF STATUS CONFERENCE? MORE AKIN
                           TO THE TWILIGHT ZONE [DOC67] WITHOUT PREJUDICE
         Case 1:20-bk-11006-VK                     Doc 76 Filed 07/01/20 Entered 07/01/20 14:56:46                                     Desc
                                                    Main Document    Page 2 of 4



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:205
South Broadway #903, Los Angeles, CA 90012

A true and correct copy of the foregoing document entitled (specify): NOTICE OF WITHDRAWAL OF STATUS
CONFERENCE? MORE AKIN TO THE TWILIGHT ZONE [DOC 67] WITHOUT PREJUDICE will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 7-
1-2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Katherine Bunker kate.bunker@usdoj.gov
  John Burgee jburgee@bandalaw.net
  Caroline Renee Djang (TR) caroline.djang@bbklaw.com,
C190@ecfcbis.com;sansanee.wells@bbklaw.com;wilma.escalante@bbklaw.com
  David B Golubchik dbg@lnbyb.com, stephanie@lnbyb.com
  Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
  Thomas D Sands thomas@thesandslawgroup.com, thomas@thesandslawgroup.com
  David A Tilem davidtilem@tilemlaw.com,
DavidTilem@ecf.inforuptcy.com;joanfidelson@tilemlaw.com;JoanFidelson@ecf.inforuptcy.com;
DianaChau@tilemlaw.com
  United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
                                                                     X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 7-1-2020 I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.
                                                                        X Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 07/1/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Hon. Victoria S. Kaufman
United States Bankruptcy Court
21041 Burbank Boulevard, Suite 354 / Courtroom 301
Woodland Hills, CA 91367
                                                                        X Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  7-1-2020                       Thomas Sands, Esq.
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                 Case 1:20-bk-11006-VK              Doc
                                                      . 0. 76     FiledMIC07/01/20
                                                           Box 826880
                                                      Bankruptcy GroupCOUNTY
                                                                           92E
                                                                                         Entered 07/01/20 14:56:46 Desc
0973-1                                               (p) LOS ANGELES
                                                      Main    Document       TREASURER
                                                                                  Page AND 3TAXofCOLLE
                                                                                                   4   Franchise Tax Board
Case 1:20-bk-11006-VK                                ATTN BANKRUPTCY UNIT                              Bankruptcy Section MS: A-340
Central District of California                       PO BOX 54110                                      P. 0. Box 2952
San Fernando Valley                                  LOS ANGELES CA 90054-0110                         Sacramento, CA 95812-2952
Tue Jun 16 14:06:24 PDT 2020
Internal Revenue Service
PO Box 7346                                                                                              Lev Invesbnents, LLC
Philadelphia, PA 19101-7346                                                                              13854 Albers Street
                                                                                                         Sherman Oaks, CA 91401-5811


(p)OFFICE OF FINANCE CITY OF LOS ANGELES
200 N SPRING ST RM 101 CITY HALL                     Securities & Exchange CoDDDission                   San Fernando Valley Division
LOS ANGELES CA 90012-3224                            444 South Flower St., Suite 900                     21041 Burbank Blvd,
                                                     Los Angeles, CA 90071-2934                          Woodland Hills, CA 91367-6606


FR, LLC
c/o Michael Shemtoub, Esq.                           Franchise Tax Board                                 G&B Law, LLP
4929 Wilshire Blvd., suite 702                       Special Procedures                                  Attn: James R. Felton
Los Angeles, CA 90010-3824                           POB 2952                                            16000 Ventura Blvd., suite 1000
                                                     Sacramento, CA 95812-2952                           Encino, CA 91436-2762

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS                    Jeff Nodd, Esq.                                     LDI Ventures, LLC
PO BOX 7346                                          15250 Ventura Blvd                                  423 N Palm dr
PHILADELPHIA PA 19101-7346                           Encino, CA 91403-3201                               Beverly Hills, CA 90210-3974


Landmark Land, LLC
Attn Alex Polovinchik                               Michael Leizerovitz                                  Michael Masinovsky
860 Via De La Paz, suite E-1                        15 Via Monarca St.                                   21810 Eaton Place
Pacific Palisades, CA 90272-3668                    Dana Point, CA 92629-4082                            Cupertino, CA 95014-1182


Ming Zhou
Thomas Krantz, Esq.                                 (p)REAL PROPERTY TRUSTEE INC                         Sensible Consulting & Mgmt Inc
2082 Michelson Drive, Suite 212                     ATTN MIKE KEMEL                                      c/o John Burgee Esq.
Irvine, CA 92612-1213                               PO BOX 17064                                         20501 Ventura Boulevard, Suite 262
                                                    BEVERLY HILLS CA 90209-3064                          Woodland Hills, CA 91364-6410

Thomas Sands, Esq.
The Sands Law Group, APLC                            U.S. Trustee San Fernando Valley                    United States Trustee (SV)
205 South Broadway, Suite 903                        915 Wilshire Blvd.                                  915 Wilshire Blvd, Suite 1850
Los Angeles, CA 9 0012-3618                          Suite 1850                                          Los Angeles, CA 90017-3560
                                                     Los Angeles, CA 90017-3560

Caroline Renee Djang (TR)
18101 Von Karman Ave., Suite 1000                    David B Golubchik                                   Juliet Y Oh
Irvine, CA 92612-0164                                Levene Neale Bender Yoo & Brill LLP                 10250 Constellation Blvd Ste 1700
                                                     10250 Constellation Blvd Ste 1700                   Los Angeles, CA 90067-6253
                                                     Los Angeles, CA 90067-6253




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                  Case 1:20-bk-11006-VK              Doc 76 Filed 07/01/20 Entered 07/01/20 14:56:46 Desc
Bankruptcy Unit                                       Main Document    Page 4 of 4
P.O. Box 54110                                                                          Insolvency I Stop 5022
Los An geles, CA 90051-0110                                                             300 N. Los Angeles St., #4062
                                                                                        Los Angeles, CA 90012-9903

 (d)Los Angeles County Tax Collector
P.O. Box 54018                                       Real Property Trustee, Inc.
Los An geles, CA 90054-0018                          P.O. Box 17064
                                                     Beverly Hills, CA 90209




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                      End of Label Matrix
                                                     Mailable recipients    26
                                                     Bypassed recipients     1
                                                     Total                  27
